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 5
                                          UNITED STATES DISTRICT COURT
 6                                       WESTERN DISTRICT OF WASHINGTON
                                                   AT TACOMA
 7

 8    JEREMY WOLFSON,
 9                                       Plaintiff,         No. C17-6064 BHS
10             v.                                           ORDER GRANTING MAROON
                                                            HOLDING, LLC, AND
11    BANK OF AMERICA, NATIONAL                             INTERCONTINENTAL
      ASSOCIATION, its successors in interest and/or        EXCHANGE, INC.’S
12    Assigns; MTC FINANCIAL INC. d/b/a                     UNOPPOSED MOTION FOR
      TRUSTEE CORPS; MORTGAGE                               SEPARATE JUDGMENT
13    ELECTRONIC REGISTRATION SYSTEMS
      INC.; MERSCORP HOLDINGS, INC.;                        NOTE ON MOTION
14    MAROON HOLDING, LLC;                                  CALENDAR: February 8, 2019
      INTERCONTINENTAL EXCHANGE, INC.;
15    FIRST MAGNUS FINANCIAL
      CORPORATION, an Arizona Corporation; and
16    DOES #1-10, inclusive,
17                                       Defendants.
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               THIS MATTER came before the Court on Defendants Maroon Holding, LLC
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      (“Maroon”) and Intercontinental Exchange, Inc.’s (“Intercontinental”) Unopposed Motion for
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      Entry of Separate Judgment Under FRCP 54 and 58. The Court, having considered the papers
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      submitted in support of and in opposition to this unopposed motion, finds the motion should be
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      GRANTED.
24
               Now therefore, it is hereby ORDERED that Maroon and Intercontinental’s unopposed
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      Motion for Entry of Separate Judgment Under FRCP 54 and 58 is GRANTED.
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                                                                              Davis Wright Tremaine LLP
     ORDER GRANTING MOTION FOR SEPARATE JUDGMENT- 1                                    L AW O FFICE S
      4824-7840-6533v.1 0096475-000054                                           920 Fifth Avenue, Suite 3300
                                                                                     Seattle, WA 98104
                                                                            206.622.3150 main · 206.757.7700 fax
                Case 3:17-cv-06064-BHS Document 59 Filed 02/14/19 Page 2 of 2




 1             The Clerk of Court shall enter judgment against Plaintiff Jeremy Wolfson and for

 2    Maroon and Intercontinental as of this date.

 3             DATED this 14th day of February, 2019.

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                                                           A
                                                          BENJAMIN H. SETTLE
                                                          United States District Judge

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      Presented by:
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11    Davis Wright Tremaine LLP
      Attorneys for Maroon Holding, LLC and Intercontinental Exchange, Inc.
12

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14    By s/Frederick A. Haist
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                                                                               Davis Wright Tremaine LLP
     ORDER GRANTING MOTION FOR SEPARATE JUDGMENT- 2                                     L AW O FFICE S
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